      Case 2:15-cv-07148-ILRL-DEK Document 88 Filed 05/31/17 Page 1 of 2




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF LOUISIANA


RIENEKE E. FARROW                                               *                  CIVIL ACTION
on behalf of herself and all
those similarly situated                                        *                  NO. 2:15-cv-07148

versus                                                          *                  JUDGE LEMELLE

AMMARI OF LOUISIANA, LTD.                                       *                  MAGISTRATE
d/b/a CREOLE CUISINE RESTAURANT                                                    KNOWLES
CONCEPTS                                                        *

*        *        *        *        *         *        *        *

                   JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

         NOW COME Plaintiffs and Defendant, Ammari of Louisiana, Ltd. d/b/a Creole Cuisine

Restaurant Concepts who jointly move this Court to enter the attached Protective Order for

purposes of protecting confidential, personal information of non-parties. 1 Each aforementioned

party consents to the entry of the Protective Order as evidenced by the signatures of counsel

below.

         WHEREFORE, Plaintiffs and Defendant, Ammari of Louisiana, Ltd. d/b/a Creole

Cuisine Restaurant Concepts pray that this Court enter the attached Protective Order.




1
 Defendant respectfully notes that this Joint Motion for Protective Order is not in lieu of its Motion for Protective
Order filed on May 12, 2017 (R. Doc. 61).
     Case 2:15-cv-07148-ILRL-DEK Document 88 Filed 05/31/17 Page 2 of 2




                                            Respectfully submitted,

                                            ADAMS AND REESE LLP

                                            /s/ Kate C. Brownlee
                                            LESLIE A. LANUSSE (No. 14115)
                                            LAUREN L. TAFARO (No. 29320)
                                            KATE C. BROWNLEE (No. 35062)
                                            701 Poydras Street, 4500 One Shell Square
                                            New Orleans, Louisiana 70139
                                            Telephone:     504-582-3234
                                            Facsimile:     504-566-0210
                                            Leslie.Lanusse@arlaw.com
                                            Lauren.Tafaro@arlaw.com
                                            Kate.Brownlee@arlaw.com

                                            Counsel for Defendant, Ammari of Louisiana,
                                            LTD d/b/a Creole Cuisine Restaurant Concepts

                                            and

                                            VASQUEZ LAW OFFICE

                                            __/s/Jessica Vasquez__________________
                                            JESSICA VASQUEZ (No. 27124)
                                            400 Poydras Street, Ste 900
                                            New Orleans, Louisiana 70130
                                            Telephone:     504-571-9582
                                            Facsimile:     504-684-1449
                                            E-mail: jvasquez@vasquezlawoffice.com
                                            Counsel for Plaintiffs


                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing has been served upon all counsel
of record by filing the same in this Court’s CM/ECF System this 31st day of May, 2017.

                                            /s/ Kate C. Brownlee
                                            KATE C. BROWNLEE
